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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In Re:                                           : Bankruptcy No. 18-11410-elf
      Edward Joseph Dougherty                      : Chapter 13
                      Debtor                       :
                                                   :
                                                   :
  Washington Savings Bank                          :
                                                   :
                        Movant                     :
                                                   :
                 vs.                               :
                                                   :
  Edward Joseph Dougherty                          :
                                                   :
                        Debtor/Respondent          :
                                                   :
                 and                               :
                                                   :
  William C. Miller, Esquire                       :
                        Trustee/Respondent         :

                  OBJECTION TO CONFIRMATION OF THE PLAN

       Washington Savings Bank (“Movant”), by its attorneys, Hladik, Onorato &
       Federman, LLP, objects to confirmation of the Chapter 13 Plan of Debtor, Edward
       Joseph Dougherty (“Debtor”), as follows:

  1.      As of the bankruptcy filing date of March 1, 2018, Movant holds a secured claim
          against the Debtor’s property, located at: 12610 Ramer Road, Philadelphia, PA
          19154.

  2.      Movant filed a Proof of Claim (“POC”) in the amount of $2,132.23 for pre-
          petition arrears on April 23, 2018.

  3.      The Plan currently provides for payment to Movant in the amount of $1,600.00
          for pre-petition arrears, which is an amount smaller than Movant’s POC.

  4.      The Plan fails to cure the delinquency pursuant to 11 U.S.C. § 1322(b)(5).

  5.      The Plan violates of 11 USC § 1325(a)(5)(B)(ii) by not providing for Movant to
          receive the full value of its claim.

  6.      Movant objects to the feasibility of the Plan under 11 U.S.C. § 1325(a)(6). The
          Plan proposed by Debtor is not feasible. Movant requests that the bankruptcy
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         case either be converted to a Chapter 7 or be dismissed pursuant to 11 U.S.C. §
         1307.

         WHEREFORE, Movant respectfully requests that this Honorable Court deny
  confirmation of the Debtor’s Chaper 13 Plan.

                                                  Respectfully submitted,


  Dated: 04/24/2018

                                                  /s/Danielle Boyle-Ebersole, Esquire
                                                  Danielle Boyle-Ebersole, Esquire
                                                  Hladik, Onorato & Federman, LLP
                                                  298 Wissahickon Avenue
                                                  North Wales, PA 19454
                                                  Phone 215-855-9521
                                                  Fax 215-855-9121
